                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION



 UNITED STATES OF AMERICA,
                     Plaintiff,                          No. CR15-3013-MWB
 vs.                                             ORDER ACCEPTING MAGISTRATE
                                                     JUDGE’S REPORT AND
 WILLIAM ALEXANDER FLORES
                                                 RECOMMENDATION REGARDING
 VAQUERANO, a/k/a “Flaco,”
                                                   DEFENDANT’S GUILTY PLEA
                     Defendant.
                                     ____________________


                            I. INTRODUCTION AND BACKGROUND
             On March 18, 2015, an Indictment was returned against defendant William
Alexander Flores Vaquerano, charging defendant with conspiring to distribute 500 grams
or more methamphetamine which contained at least 50 grams or more of pure
methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846. On
October 5, 2015, defendant appeared before United States Magistrate Judge Leonard T.
Strand and entered a plea of guilty to Count 1 of the Indictment. On this same date, Judge
Strand filed a Report and Recommendation in which he recommends that defendant’s guilty
plea be accepted. No objections to Judge Strand’s Report and Recommendation were
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filed.           The court, therefore, undertakes the necessary review of Judge Strand’s
recommendation to accept defendant’s plea in this case.




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       The parties have waived the fourteen day period in which to file objections to
Judge Strand’s Report and Recommendation.


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                                     II. ANALYSIS
       The court reviews the magistrate judge’s report and recommendation pursuant to
the statutory standards found in 28 U.S.C. § 636(b)(1):
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
              The judge may also receive further evidence or recommit the
              matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 72, 72.1 (allowing the referral of dispositive matters to a magistrate judge
but not articulating any standards to review the magistrate judge’s report and
recommendation). While examining these statutory standards, the United States Supreme
Court explained:
              Any party that desires plenary consideration by the Article III
              judge of any issue need only ask. Moreover, while the statute
              does not require the judge to review an issue de novo if no
              objections are filed, it does not preclude further review by the
              district judge, sua sponte or at the request of a party, under a
              de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any




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more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       In this case, no objections have been filed. As a result, the court has reviewed the
magistrate judge’s report and recommendation under a clearly erroneous standard of
review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (noting when no
objections are filed and the time for filing objections has expired, “[the district court judge]
would only have to review the findings of the magistrate judge for clear error”); Taylor
v. Farrier, 910 F.2d 518, 520 (8th Cir. 1990) (noting the advisory committee’s note to
Fed. R. Civ. P. 72(b) indicates “when no timely objection is filed the court need only
satisfy itself that there is no clear error on the face of the record”). After conducting its
review, the court is not “‘left with [a] definite and firm conviction that a mistake has been
committed,’” and finds no reason to reject or modify the magistrate judge’s
recommendation.       Anderson v. City of Bessemer City, 470 U.S. 564, 573-74 (1985)
(quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). Therefore, the
court accepts Judge Strand’s Report and Recommendation and accepts defendant’s plea of
guilty in this case to Count 1 of the Indictment.
       IT IS SO ORDERED.
       DATED this 5th day of October, 2015.


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                                                    MARK W. BENNETT
                                                    U. S. DISTRICT COURT JUDGE
                                                    NORTHERN DISTRICT OF IOWA




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